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      COUNTY OF SAN BERNARDINO and CITY OF VICTORVILLE
 7

 8
                           UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
      SAMUEL R. NAVARETTE , JR;             Case No:
11    SAMUEL R. NAVARETTE, SR.;
      ANDREW NAVARETTE, a minor,
12    by and through his Guardian Ad        NOTICE OF REMOVAL
      Litem, ROSE VIALPANDO;
13    DANIEL NAVARETTE; JEANETTE            [Filed concurrently herewith:
      ALAMEDA; JASMINE LYNES;               (1) Certification of Interested Parties.]
14
                  Plaintiffs,
15
            vs.
16
      COUNTY OF SAN BERNARDINO
17    (SAN BERNARDINO COUNTY
      SHERIFF’S DEPARTMENT); CITY
18    OF VICTORVILLE (VICTORVILLE
      POLICE DEPARTMENT); DOES 1
19    to 10, inclusive,
20                Defendants.
21

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                                            -1-
                                    NOTICE OF REMOVAL
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 1          TO THE CLERK OF THE ABOVE-CAPTIONED COURT:
 2

 3          PLEASE TAKE NOTICE that Defendants, County of San Bernardino and
 4    City of Victorville, hereby remove to this Honorable Court the state-court action
 5    described below.
 6          1.     On September 7, 2021, this action was commenced in the Superior
 7    Court of the State of California in and for the County of San Bernardino entitled
 8    SAMUEL R. NAVARETTE, JR. et al., Plaintiffs, vs. COUNTY OF SAN
 9    BERNARDINO et al., Defendants. The suit was assigned case number
10    CIVDS2002009 by the San Bernardino Superior Court. A true and correct copy of
11    the Complaint is attached hereto as Exhibit "A."
12          2.     The first date upon which Defendants received a copy of said
13    Complaint was November 3, 2021, when a copy of the Complaint was served on
14    the City Clerk's Office along with a Summons from the state court. A true and
15    correct copy of the state court Summons is attached hereto as Exhibit "B."
16          3.     Along with the Summons and Complaint, these removing Defendants
17    also received the following documents from Plaintiff: Certification of Assignment,
18    Civil Case Cover Sheet, Guidelines for the Complex Litigation Program, and
19    Application and Order for Appointment of Guardian Ad Litem – Civil. true and
20    correct copies of which are attached hereto collectively as Exhibit "C." The
21    Summons, Complaint, and the above-listed documents are the only papers that
22    have been served on Defendants in the state court action. To the best of the
23    undersigned's knowledge, these are the only papers filed with the state court.
24          4.     This action is a civil action in which this Court has original
25    jurisdiction under 28 U.S.C. § 1331 and removal jurisdiction under 28 U.S.C. §
26    1441(b) in that it arises under 42 U.S.C. § 1983. See Compl. at 3:23-28; 4-9; and
27    10:1-22.
28    //
                                               -2-
                                       NOTICE OF REMOVAL
     Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 3 of 62 Page ID #:3



 1          5.     The Defendants who herein jointly remove this case are the only
 2    named Defendants in this action.
 3          6.     Concurrent with the filing of this Notice of Removal, a Notice to State
 4    Court and Adverse Party of Removal to Federal Court is being filed with the state
 5    court and served on Plaintiff's counsel. A true and correct copy of that Notice with
 6    proof of service thereof is attached hereto as Exhibit "D."
 7

 8    Dated: December 2, 2021                   Respectfully submitted,
 9                                              JONES & MAYER
10

11
                                                By:/s/ Denise L. Rocawich
12                                                JAMES R. TOUCHSTONE
                                                  DENISE L. ROCAWICH
13                                                Attorneys for County of San
                                                  Bernardino and City of Victorville
14

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                                       NOTICE OF REMOVAL
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                         EXHIBIT A
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                                                  COPY
     1   Joseph M. Barrett, State Bar No. 143974 imM,i11~2law.com
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 6       LAW OFFICES OF JIMMY NGUYEN
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 7       Te!ephone: (858) 722-0583
 s       Attorneys for Plaintiffs                                                                 -<                  ~-   ;~
                                                                                               ,; c~-
                                                                                                ~> ;·,                ~.; ;~;
 9                            SUPERIOR COURT OF THE STATE OF CALIFORNIA                         :---:•·        t
                                                                                                :::;:;:>      (.,.)
                                                                                                e.,;~
                                                                                                --·::.··:;
10                                  FOR THE COUNTY OF SAN BERNARDINO                            .~... ....
                                                                                                  ~
                                                                                                      "":"'



t1

12        SAMUEL R. NAVARETTE, JR.; SAMUEL R. ) Case No.: CTVDS2002009
         NAVARETTE, SR.; ANDREW NAVARETTE,)
13       a Minor, by and through his Guardian ad Litem, ))
                                                           FIRST AMENDED COMPLAINT FOR
14        ROSE VIALPANDO; JESSICA NAVARETTE,) DAMAGES
         a Minor, by and through her Guardian ad Litem,)
15
16
         ROSE VIALPANDO; DANIEL NAVARETTE;)
         JEANETTE ALAMEDA; JASMINE LYNES;               !      1. Fourth Amendment - Detention and
                                                                   Arrest (42 U.S.C. § 1983)
                                                              l. Fourth Amendment - Excessive Force
::             Plaintiffs.                                         (42 u.s.c. § 1983)

               vs.
                                                        5
                                                        )
                                                              3. Substantive Due Process (42 U.S.C. §
                                                                   1983)
                                                        )     4. Municipal Liability- Ratification (42
                                                        ~
19
         COUNTY OF SAN BERNARDINO (SAN                             u.s.c. § 1983)
20       BERNARDINO COUNTY SHERIFF'S                          S. Municipal Liability-Inadequate

21

22
         DEPARTMENT); CITY OF VICTORVILLE
         (VICTORVILLE POLICE DEPARTMENn;
         and DOES 1-10, Inclusive.
                                                       !)
                                                        )
                                                              6.
                                                                   Training (42 U.S.C. § 1983)
                                                                   Municipal Liability- Unconstitutional
                                                                   Custom,  Practice, or Policy (42 U.S.C.
                                                        )          § 1983)
23             Defendants.                                    7. False Arrest/False Imprisonment
24
                                                        ~     8. Battery (California Government Code

                                                        ~
                                                                   §§815.l(a), 820(a); California Civil
25                                                      )
                                                                   Code§43)
                                                        )     9. Negligence (California Government
26                                                      )          Code §§81S.2(a), 820(a))
                                                        )     l 0. Violation of California Civil Code §
27                                                      )          Sl.J
                                                        )
28                                                      )
                                                                  DEMAND FOR TRIAL BY JURY


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                FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
           Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 6 of 62 Page ID #:6




     1                                      COMPLAINT FOR DAMAGES
     2    COMES NOW Plaintiffs SAMUEL R. NAVARETTE, JR.; SAMUEL R. NAVARETTE, SR.
 3       ANDREW NAVARETTE, a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO
 4       JESSICA NAVARETTE, a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO
 5       DANIEL NAVARETTE; JEANETTE ALAMEDA; JASMINE LYNES, individually, and for causes o
 6       action against Defendants COUNTY OF SAN BERNARDINO (SAN BERNARDINO COUNT
 7       SHERIFF'S DEPARTMENT); CITY OF VICTORVILLE (VICTORVILLE POLICE DEPARTMENT)
 8       and DOES 1-10, inclusive, and complains and alleges as foJlows:
 9                                          JURISDICTION AND VENUE

10          I.   Plaintiff SAMUEL R. NAVARETTE, JR. is, and at all relevant times mentioned herein was,
11       resident of the County of San Bernardino and State of California.
12         2.    Plaintiff SAMUEL R. NAVARETTE, SR. is, and at all relevant times mentioned herein was,
13       resident of the County of San Bernardino and State of California.
14         3.    Plaintiff ANDREW NAVARETTE, by and through his Guardian ad Litem ROSE VIALPAND
15       is, and at all relevant times mentioned herein was, a resident of the County of San Bernardino and Stat
16       of California.
17         4.    Plaintiff JESSICA NAVARETTE, by and through her Guardian ad Litem ROSE VJALPAND
18       is, and at all relevant times mentioned herein was, a resident of the County of San Bernardino and Stat
19       of California.
20         5.    Plaintiff DANIEL NAVARETTE is, and at all relevant times mentioned herein was, a resident o
21       the County of San Bernardino and State of California.
22         6.    Plaintiff JEANETTE ALAMEDA is, and at all relevant times mentioned herein was, a residen
23       of the County of San Bernardino and State of California.
24         7.    Plaintiff JASMINE LYNES is, and at all relevant times mentioned herein was, a resident of th
25       County of San Bernardino and State of California.
26         8.    Defendant COUNTY OF SAN BERNARDINO (COUNTY OF SAN BERNARDIN
27       SHERIFF'S DEPARTMENT) is, and at alJ relevant times mentioned herein was, a municipal entity o
28       political subdivision of the United States, organized and existing under the Jaws of the State o


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                 FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
           Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 7 of 62 Page ID #:7




     1   California, with the capacity to be sued. The COUNTY OF SAN BERNARDINO is responsible for th

 2       actions, omissions, policies, procedures, practices, and customs of its various agents and agencies
 3       including the San Bernardino County Sheriffs Department and its agents and employees. At all relevan
 4       times, Defendant COUNTY OF SAN BERNARDINO was responsible for assuring that the actions
 5       omissions, policies, procedures, practices, and customs of the SAN BERNARDINO COUNT

 6       SHERIFF'S DEPARTMENT and its employees and agents complied with the laws of the United State

 7       of America and of the State of California.
 8         9.   At all relevant times, the COUNTY OF SAN BERNARDINO was the employer of Defendan
 9       DOES 1-5.
10         10. Defendant DOES 1-5 are COUNTY OF SAN BERNARDINO SHERIFF'S DEPARTMEN
11       Deputies for the SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT. Defendant DOE SA
12       BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-5 were acting with the complete authority an
13       ratification of their principal, Defendant COUNTY OF SAN BERNARDINO.
14         1t. Defendant DOE SAN BERNARDINO COUNTY SHERJFF'S DEPUTIES 4-5 are Superviso
15       Deputies within the SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT who were actin
16       under color of law within the course and scope of their duties as SAN BERNARDINO COUNT
17       SHERIFF'S DEPARTMENT Deputies for the SAN BERNARDINO COUNTY SHERIFF'

18       DEPARTMENT. Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 4-5 wer
19       acting with the complete authority and ratification of their principal, Defendant COUNTY OF SA
20       BERNARDINO.
21         12. Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 4-5 are managerial
22       supervisorial, and policymaking employees of the SAN BERNARDINO COUNTY SHERIFF'
23       DEPARTMENT who were acting under color of law within the course and scope of their duties a
24       managerial, supervisorial, and policymaking employees for the SAN BERNARDINO COUNT
25       SHERIFF'S DEPARTMENT.             Defendant DOE SAN BERNARDINO COUNTY                   SHERIFF'
26       DEPUTIES 4-5 were acting with the complete authority and ratification of their principal, Defendan
27       COUNTY OF SAN BERNARDINO.
28         13. On information and belief, DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-5


                                                         -3-

                FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRJAL
          Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 8 of 62 Page ID #:8




 1   were residents of the COUNTY OF SAN BERNARDINO.

 2        14. In doing the acts and failing and omitting to act as hereinafter described, Defendant DOE SA
 3   BERNARDINO COUNTY SHERIFF'S DEPUTIES J-5 were acting on the implied and actua
 4   permission and consent of Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 4
 5   5.
 6        15. In doing the acts and failing and omitting to act as hereinafter described, Defendant DOE SA

 7   BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-5 were acting on the implied and actua

 8   permission and consent of the Defendant COUNTY OF SAN BERNARDINO.
 9        16. Defendant CITY OF VICTORVILLE (VICTORVILLE POLICE DEPARTMENn is, and at al
10   relevant times mentioned herein was, a municipal entity or political subdivision of the United States
11   organized and existing under the laws of the State of California, with the capacity to be sued. The CIT
12   OF VICTORVILLE is responsible for the actions, omissions, policies, procedures, practices, an
13   customs of its various agents and agencies, including the VJCTORVILLE POLICE DEPARTMENT an
14   its agents and employees. At all relevant times, Defendant CITY OF VICTORVILLE was responsibl
15   for assuring that the actions, omissions, policies, procedures, practices, and customs of th
16   VICTORVILLE POLICE DEPARTMENT and its employees and agents complied with the Jaws ofth
17   United States of America and of the State of CaJifomia.
18        17. At all relevant times, the CITY OF VICTORVILLE was the employer of Defendant DO
19   VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 6-10.
20        18. Defendant DOE VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 6-10 a
21   VICTORVILLE POLICE DEPARTMENT Police Officers for the CITY OF VICTORVILLE
22   Defendant DOE VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 6-10 were acting wit
23   the complete authority and ratification of their principal, Defendant CITY OF VICTORVILLE.
24     19. Defendant DOE VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 9-10 a
25   Supervisory Police Officers within the CITY OF VICTORVILLE POLICE DEPARTMENT who wer
26   acting under color of law within the course and scope of their duties as VICTORVILLE Police Officer:
27   for the VICTORVILLE POLICE DEPARTMENT. Defendant DOE VICTORVILLE POLIC
28   DEPARTMENT POLICE OFFICERS 9-10 were acting with the complete authority and ratification o


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              FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1    their principal, Defendant CITY OF VICTORVILLE.

     2      20. Defendant DOE VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 9-10

 3        managerial, supervisorial, and policymaking employees of the CJTY OF VICTORVILLE Polic
 4        Department who were acting under color of law within the course and scope of their duties a
 5       managerial,    supervisorial,   and   policymaking     employees     for   the   VICTORVILLE        POLJC
 6       DEPARTMENT. Defendant DOE VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 9
 7        IO were acting with the complete authority and ratification of their principal, Defendant CITY 0
 8       VICTORVILLE.

 9          21. On information and belief, Defendant DOE VICTORVILLE POLICE DEPARTMENT POLJC

10       OFFICERS 6-10 were residents of the COUNTY OF SAN BERNARDINO.
11          22. In doing the acts and failing and omitting to act as hereinafter described, Defendant DO
12       VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 6-10 were acting on the implied an
13       actual permission and consent of Defendant DOE VICTORVILLE POLICE DEPARTMENT POLIC
14       OFFICERS 9-10.
15         23. In doing the acts and failing and omitting to act as hereinafter described, Defendant DO
16       VICTORVILLE POLICE DEPARTMENT POLICE OFFICERS 6-10 were acting on the implied an
17       actual permission and consent of the Defendant CITY OF VICTORVILLE.
18         24. On or about October I 0, 2019 and on earlier dates, timely Claims for Damages were submitted t
19       the COUNTY OF SAN BERNARDINO and the CITY OF VICTORVILLE in substantial complianc
20       with California Government Code § 91 I .2. As of the date of the filing of this Complaint, said Claim
21       were a11 denied.

22         25. The true names and/or capacities, whether individual, corporate, associate or otherwise o
23       Defendants DOES 1 through J0, inclusive, are unknown to Plaintiffs at this time, who therefore sue sai
24       Defendants by such fictitious names. Plaintiffs are informed and beJieve, and thereupon allege, that eac
25       of the Defendants fictitiously named herein as a DOE is legally responsible, negligently or in some othe
26       actionable manner, for the events and happenings hereinafter referred to, and thereby proximatel
27       caused the injuries and damages to Plaintiffs as hereinafter alleged. Plaintiffs wil1 seek leave of court t
28       amend this Complaint to insert the true names and/or capacities of such fictitiously named Defendant


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                 FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1   when the same have been ascertained.
 2          26. Each of the individual Defendants DOE 1-10 sued herein is sued both in his/her individual an
 3       personal capacity. as well as in their official capacity as sworn peace officers.
 4          27. Plaintiffs are infonned and believe, and thereupon allege, that at all times relevant and mentione
 5       herein. Defendants, and each of them, including DOES 1 through 10, inclusive, and each of them, wer
 6       the agents. servants, employees, independent contractors, co-conspirators, retailers. distributors
 7       wholesalers. management companies. subsidiaries and/or joint venturers of their co-Defendants, an
 8       were at all times material hereto, acting within the course. scope and authority and purpose of sai
 9       agency. employment and/or venture, and with the pennission and consent of their co-Defendants, and/o
10       that all of said acts were subsequently performed with the knowledge, acquiescence, ratification an
11       consent of the respective principals. and the benefits thereof accepted by their principals. Each and eve
12       Defendant, as aforesaid, when acting as a principal, was negligent in the selection and hiring of each an
13       every other Defendant. Each and every Defendant, as aforesaid, when acting as an agent, employe
14       and/or joint venturer was negligent in the selection and hiring of each and every other Defendant.
15                                             GENERAL ALLEGATIONS
16         28. This civil rights and state tort action seeks compensatory and punitive damages from Defendant
17       for violating various rights which our citizens are guaranteed under Constitutions of the United States o
18       America and the State of California, and violations of state law, in connection with unjustified an
19       unprovoked assaults on both SAMUEL NAVARETTE, JR. and SAMUEL NAVARETTE, SR. whil
20       they attended a birthday party for SAMUEL R. NAVARETTE JR. 'S 8 year-old son, surrounded b
21       friends and family, many of whom were children.
22         29. The incident happened at 11758 Trailwood Street in VictorviJle, California at approximate!
23       8:00 p.m. on June 29, 2019.
24         30. Two persons, one apparently with the VICTORVILLE POLICE DEPARTMENT and the othe
25       apparently with the SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT, showed up at th
26       residence located at 11758 Trailwood Street in Victorville, California where the party was being held
27       allegedly because fireworks had been making noise at the residence. They were met at the front door by
28       among others, SAMUEL R. NAVARETTE, JR., who told them that he was not the owner, but a guest


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                 FJRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1    and after a brief communication, SAMUEL R. NAVARETTE, JR. was grabbed, forced to the groun
 2   without any sufficient justification or provocation justifying this use of force. At the door, the DOE SA
 3   BERNARDINO COUNTY SHERIFF'S DEPUTY was swinging his baton in an aggressive an
 4   intimidating manner with no provocation or justification.
 5      31 . SAMUEL R. NAVARETTE, JR. was grabbed, thrown against a wall, pinned there, then dragge
 6   with his arm forcibly behind him in a painful manner. The DOE SAN BERNARDINO COUNT
 7   SHERIFF'S DEPUTY then kicked his feet out from under SAMUEL R. NAVARETTE, JR., vioJentl
 8   taken down onto the hard ground face first by the DOE SAN BERNARDINO COUNTY SHERIFF'
 9   DEPUTY, and SAMUEL R. NAVARETTE, JR. was held down with a knee to his back, was bein
10   handcuffed, and then he was violently struck in his head/brain area with an impact weapon, beJieved t
11   be a gun. AIJ the acts of violence complained of herein were excessive, unnecessary, and unlawful. Al
12   of these acts were observed by, and assisted by, the DOE VICTORVILLE POLJCE DEPARTMEN
13   POLICE OFFICER. Shortly thereafter, SAMUEL R. NAVARETTE, JR. while in the same defenseles
14   position and in front of his children, relatives and other guests, was repeatedly and violently struck o
15   SAMUEL R. NAVARETTE, JR.'s skull/brain area with another impact weapon by the DOE SA
16   BERNARDINO COUNTY SHERIFF'S DEPUTY, believed to be a police-issued baton. Thi
17   completely and objectively unreasonable and unjustified use of potentially deadly force under thes
18   circumstances against the sku1J of SAMUEL R. NAVARETTE, JR., who did not pose an immediat
19   threat of death or serious bodily injury to anyone at this time, or any time relevant, who had no
20   committed any crime, who was with no weapons, who was not resisting, who was no threat to la
21   enforcement, is abhorrent in a civilized society, as there is no justification for using lethal force unless i
22   is necessary to defend against an imminent threat of death or serious bodily injury to officers o
23   bystanders.
24     32. These acts of unprovoked, unreasonable, unjustified use of potentially deadly force, culminatin
25   in repeated potentially deadly head strikes to a defenseless man on the ground, SAMUEL R
26   NAVARETTE, JR., while in the same defenseless position and in front of his father, his children, othe
27   close relatives and other guests, repeatedly and violently struck on his skull/brain area, by the COUNT
28   OF SAN BERNARDINO SHERIFF'S DEPUTY, were followed thereafter by a completely unjustifie


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             FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1    Taser attack on SAMUEL R. NAVARETTE, SR. who stood nearby, also presenting no threat, with n
 2       weapon, who merely inquired as to why the police were beating his son on the ground in front of him
 3       Neither SAMUEL R. NAVARETTE, JR. nor SAMUEL R. NAVARETTE, SR. ever made an
 4       aggressive movements, furtive gestures, or physical movements which would objectively and reasonabl
 5       lead a properly trained peace officer to believe either had any kind of weapon, or had the will or th
 6       abiJity to inflict sufficient bodily harm to justify any of these acts of violence and uses of force.
 7          33. The same COUNTY OF SAN BERNARDINO SHERJFF'S DEPUTY who attacked and bea
 8       SAMUEL R. NAVARETTE, JR. proceeded to use his Taser on his father SAMUEL R. NA VAREITE
 9       SR. They were each humiliated, attacked, and treated like dogs, 1ike violent criminals, by these DO
10       Defendants who acted together, and whose identities are unknown to the Plaintiffs at present. Neithe
11       SAMUEL R. NAVARETTE, JR. or SAMUEL R. NAVARETTE, SR. ever threatened any Po1ic
12       Officer or Sheriff's Deputy at any time relevant herein, nor did they have anything in their hands, or an
13       weapon on their person, or in any way justify use of force, and certainly not deadly force. No Polic
14       Officer or Sheriffs Deputy was at all injured nor was anyone else by either man.
15         34. SAMUEL R. NAVARETTE, JR. was detained and arrested without reasonable suspicion an
16       arrested without probable cause, and thereafter prosecuted. On information and belief, the involve
17       Sheriff's Deputies and Police Officers at the scene also failed to timely summon medical attention afte
18       these brutal acts.
19                                              FIRST CAUSE OF ACTION
20                   FOURTH AMENDMENT- DETENTION AND ARREST (42 U.S.C. § 1983)
21                                        (Plaintiff SAMUEL R. NAVARETTE, JR.
22               Against Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES J-3
23                             and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8)
24         35. Plaintiffs repeat and re-allege each and every aJlegation set forth in      fl   1-34 of this Complain
25       with the same force and effect as if fuJJy set forth herein.
26         36. Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CIT
27       OF VICTORVILLE POLICE OFFICERS 6-8 detained SAMUEL R. NAVARETTE, JR.
28       reasonable suspicion and arrested him without probable cause.




                 FIRST AMENDED COMPLAJNT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1      37. When Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO

 2   CITY OF VICTORVILLE POLICE OFFICERS 6-8 used force against SAMUEL R. NAVARETTE

 3   JR., and when they unreasonably detained and arrested him, they violated SAMUEL R. NAVARETTE

 4   JR.'s right to be secure in his person against unreasonab]e searches and seizures as guaranteed t

 5   SAMUEL R. NAVARETTE, JR. under the Fourth Amendment to the United States Constitution an

 6   applied to State actors by the Fourteenth Amendment to the United States Constitution.

 7      38. The conduct of Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3

 8   and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 was wiJlful, wanton, malicious, and don

 9   with reckless disregard for the rights and safety of SAMUEL R. NAVARETTE, JR. and therefor

10   warrants the imposition of exemplary and punitive damages as to Defendants DOE SA.

11   BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLIC

12   OFFICERS 6-8.

13     39. As a result of their misconduct, Defendant DOE SAN BERNARDINO COUNTY SHERIFF'

14   DEPUTIES l-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 are liable for SAMUE
15   R. NAVARETTE, JR. 's injuries and dan1ages, because they were integral participants in the wrongfu
16   detention and arrest. Plaintiff SAMUEL R. NAVARETTE, JR. also seeks attorney's fees under thi

17   cause of action.
18                                         SECOND CAUSE OF ACTION
19                   FOURTH AMENDMENT- EXCESSIVE FORCE (42 U.S.C. § 1983)
20           (Plaintiff SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR.
21            against Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3
22                         and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8)
23     40. Plaintiffs repeat and re-allege each and every allegation set forth in   ,r,r 1-39 of this Complain
24   with the same force and effect as if fully set forth herein.
25     41. Defendant DOE DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO

26   CITY OF VICTORVILLE POLJCE OFFICERS 6-8 used excessive force against Plaintiff SAMUEL R

27   NA VAREITE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR. when SAMUEL R. NAVARETTE

28   JR. was grabbed, thrown against a wall, pinned there, then dragged with his arm forcibly behind him in


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     1    painful manner. The DOE Sheriffs Deputy then kicked his feet out from under SAMUEL R

     2   NAVARETTE, JR., violently taken down onto the hard ground face first by the DOE Sheritrs Deputy

 3        and SAMUEL R. NAVARETTE, JR. was held down with a knee to his back, was being handcuffed, an

 4       then he was violently strikeed in his head/brain area with an impact weapon, believed to be a gun. Al

 5       the acts of violence complained of herein were excessive, unnecessary, and unlawful. Shortly thereafter

 6       SAMUEL R. NAVARETTE, JR. while in the same defenseless position and in front of his children

 7       relatives and other guests, was repeatedly and violently struck on SAMUEL R. NAVARETTE, JR.'

 8       skull/brain area with another impact weapon, believed to be a police-issued baton.

 9          42. This violence and excessive force was followed thereafter by a completely unjustified Tase

10       attack on SAMUEL R. NAVARETTE, SR. who stood nearby, also presenting no threat, with n
11       weapon, who merely inquired as to why the police were beating his son on the ground in front of him

12       Neither SAMUEL R. NAVARETTE, JR. nor SAMUEL R. NAVARETTE, SR. ever made an

13       aggressive movements, furtive gestures, or physical movements which would objectively and reasonabl

14       lead a properly trained peace officer to believe either had any kind of weapon, or had the will or th

15       ability to inflict sufficient bodily harm to justify any of these acts of violence and uses of force.

16         43. As a result of the foregoing. Plaintiff SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R
17       NAVARETTE, SR. each suffered great physical pain and emotional distress. loss of enjoyment of life

18       were caused to seek medical care, incur debts, lost earnings, all in an amount in excess of the minimu

19       jurisdiction of this Court.

20         44. As a result of their misconduct, Defendant DOE SAN BERNARDINO COUNTY SHERIFF'

21       DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 are liable for th

22       damages caused to Plaintiff SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE

23       SR. either because they were integral participants in the use of excessive force, or because they failed t

24       intervene to prevent these violations.

25         45. This conduct of Defendant DOE DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIE

26       1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 was unjustified and deprived Plainti
27       SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR. of their right to be secur

28       in their person against unreasonable searches and seizures as guaranteed to Plaintiff SAMUEL R



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     1    NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR. under the Fourth Amendment to th
 2       United States Constitution and applied to state actors by the Fourteenth Amendment to the United State
 3       Constitution.
 4          46. The conduct of Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-
 5       and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 was willful, wanton, malicious, and don
 6       with reckless disregard for the rights and safety of Plaintiff SAMUEL R. NAVARETTE, JR. & Plainti
 7       SAMUEL R. NAVARETTE, SR. Neither man posed an immediate threat of death or serious bodil
 8       injury to any Deputy or Police Officer at the scene and therefore warrants the imposition of exempl
 9       and punitive damages as to Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIE
10       1-3 and DOE CJTY OF VICTORVILLE POLICE OFFICERS 6-8.
11         47. As a result of this excessive and unreasonable uses of force, Defendant DOE SA
12       BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLIC
13       OFFICERS 6-8 are liable for SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE
14       SR.'s injuries and damages, because they were integral participants in the wrongful detention and arrest
15       Plaintiff SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR. also see
16       attorney's fees under this cause of action.
17                                             THIRD CAUSE OF ACTION
18                                 SUBSTANTIVE DUE PROCESS (42 U.S.C. § 1983)
19                                                     (By alJ Plaintiffs
20                against Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES l-3
21                             and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8)
22         48. Plaintiffs repeat and re-allege each and every allegation set forth in   ,r,r   1-47 of this Complain
23       with the same force and effect as if fully set forth herein.
24         49. Plaintiffs SAMUEL R. NAVARETTE, JR.; SAMUEL R. NAVARETTE, SR.; ANDRE
25       NAVARETTE a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO; JESSIC
26       NAVARETTE, a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO; DANIE
27       NAVARETTE; JEANETTE ALAMEDA; JASMINE LYNES, individually, had cognizable interes
28       under the Due Process Clause of the Fourteenth Amendment of the United States Constitution to be fre




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     1   from state actions that deprived them of life, liberty, or property in such a manner as to shock th
     2   conscience, including but not limited to unwarranted State interference in their familial relationship
 3       with each other.
 4         50. The aforementioned conduct of Defendant DOE SAN BERNARDINO COUNTY SHERJFF'
 5       DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8, along with othe
 6       undiscovered conduct, shocks the consciousness, in that they acted with deliberate indifference to th
 7       constitutional rights of Plaintiff SAMUEL R. NAVARETTE, JR. & Plaintiff SAMUEL R
 8       NAVARETTE, SR., and their family and relatives who watched the savagery and horrific polic
 9       brutality take place at a family gathering intended to celebrate the birthday of a child, and a celebratio
10       of family, with purpose to harm unrelated to any legitimate law enforcement objective which coul
11       reasonably be justified under the circumstances at this peaceful family gathering, where the worst thin
12       anyone could say was that they might be shooting off some fireworks during the week of July 4th , a
13       American tradition.
14         5 J. As a direct and proximate result of these actions, Plaintiffs suffered pain and suffering an
15       infliction of emotional distress, and were aJI placed in fear of their lives and the lives of their famil
16       members. Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO
17       CITY OF VICTORVILLE POLICE OFFICERS 6-8 thus violated the substantive due process rights o
18       Plaintiffs to be free from unwarranted interference with their familial relationships to Plaintiff SAMUE
19       R. NAVARETTE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR.
20         52. As a direct and proximate result of these actions by Defendant DOE SAN BERNARDIN
21       COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8
22       Plaintiffs have suffered emotional distress, mental anguish and pain.
23         53. The conduct of Defendant DOE SAN BERNARDINO COUNTY SHERJFF'S DEPUTIES 1-3
24       and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 was wil1ful, wanton, malicious, and don
25       with reckless disregard for the rights and safety of SAMUEL R. NAVARETTE, JR. & Plainti
26       SAMUEL R. NAVARETTE, SR. and the other Plaintiffs and therefore warrants the imposition o
27       exemplary and punitive damages as to Defendants DOE SAN BERNARDINO COUNTY SHERIFF'
28       DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8. Plaintiffs also see


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     1    attorney's fees under this cause of action.
     2                                        FOURTH CAUSE OF ACTION
 3                          MUNICIPAL LIABILITY-RATIFICATION (42 U.S.C. § 1983)
 4                (By all Plaintiffs against Defendants COUNTY OF SAN BERNARDINO and DOES 4-5
 5                           and against Defendants CITY OF VICTORVILLE and DOES 9-10)
 6          54. Plaintiffs repeat and re-allege each and every allegation set forth in   11   1-53 of this Complain
 7       with the same force and effect as if fully set forth herein.
 8          55. Defendant Defendants DOE SAN BERNARDJNO COUNTY SHERIFF'S DEPUTIES 1-3 an
 9       DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 acted under color of law.
10          56. The acts of Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 an
11       DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 deprived Plaintiffs of their particular righ
12       under the United States Constitution.
13         57. Upon information and belief, a final policymaker for the San Bernardino County Sheriff
14       Department, acting under color of law, who had final policymaking authority concerning the acts o
15       Defendants DOE Deputies 1-3 ratified the conduct of the individual Deputies at the family gathering fo
16       a child's birthday party which took place at 11758 Trailwood Street in Victorvi11e, California a
17       approximately 8:00 p.m. on June 29, 2019, and the bases for them. Upon infonnation and belief, th
18       final San Bernardino County Sheriffs Department policymaker knew of and specifically approved o
19       the acts and conduct of the individual Sheriffs Deputies who went to the Trailwood Street residenc
20       and/or had anything thereafter to do with the intimidation, harrassment, brutality, wrongful detention
21       wrongful arrest, wrongful prosecution, or other related acts arising from this unprovoked confrontatio
22       and brutality at 11758 Trailwood Street in Victorville, California at approximately 8:00 p.m. on June 29
23       2019.
24         58. Upon information and belief, a final policymaker for the VICTORVILLE POLIC
25       DEPARTMENT, acting under color of law, who had final policymaking authority concerning the acts o
26       Defendants DOE VICTORVILLE POLICE OFFICERS 6-8 ratified the conduct of the individua
27       VICTORVILLE POLICE OFFICERS at the family gatheirng for a child's birthday party which too
28       place at I 1758 Trailwood Street in Victorville, California at approximately 8:00 p.m. on June 29, 2019


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     1    and the bases for them. Upon information and belief, the final VJCTORVILLE POLJC
 2        DEPARTMENT policymaker knew of and specifically approved of the acts and conduct of th
 3        individual DOE VICTORVILLE POLICE OFFICERS who went to the Trailwood Street residenc
 4        and/or had anything thereafter to do with the intimidation, harrassment, brutality, wrongful detention
 5        wrongful arrest, wrongful prosecution, or other related acts arising from this unprovoked confrontatio
 6        and brutality at 11758 Trailwood Street in Victorville, California at approximately 8:00 p.m. on June 29
 7       2019.
 8          59. Upon information and belief, a final policymaker with the SAN BERNARDINO COUN
 9       SHERIFF'S DEPARTMENT has determined that the acts of SAN BERNARDINO COUN
10       SHERIFF'S DOE Deputies 1-3 were "within policy."
11          60. Upon information and belief, a final policymaker with the VICTORVILLE POLIC
12       DEPARTMENT has determined that the acts of DOE VICTORVILLE POLICE OFFICERS 6-8 wer
13       "within policy."
14         61. Upon information and belief, a final policymaker with the SAN BERNARDINO COUN
15       SHERJFF'S DEPARTMENT has ratified the use of excessive potentially deadly force, including but no
16       limited to head strikes with impact weapons to a defenseless unarmed man who posed no ris
17       whatsoever, and the needless Taser use on a bystander who posed no risk whatsoever, especially wanto
18       and despicable to conclude such needless, unprovoked and potentially deadly use of force was someho
19       acceptable and justifed when juries have found the force to be excessive, and where the public and ou
20       Legislature has been outraged by this epidemic of police brutality in our society, especially but no
21       limited to persons of color like the Plaintiffs, calling for new laws to protect our citizens and ne
22       standards of decency and restraint from those who are sworn to protect and serve us, we the people.
23         62. Upon information and belief, a final policymaker with the VICTORVILLE POLIC
24       DEPARTMENT has ratified the use of excessive potentially deadly force, including but not limited t
25       head strikes with impact weapons to a defenseless unarmed man who posed no risk whatsoever, and th
26       needless Taser use on a bystander who posed no risk whatsoever. especially wanton and despicable t
27       conclude such needless, unprovoked and potentially deadly use of force was somehow acceptable an
28       justifed when juries have found the force to be excessive, and where the public and our Legislature ha


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 1    been outraged by this epidemic of police brutality in our society, especially but not limited to persons o
 2   color like the Plaintiffs, calling for new laws to protect our citizens and new standards of decency an
 3   restraint from those who are sworn to protect and serve us, we the people.
 4      63. By reason of the aforementioned acts and omissions, Plaintiffs have been caused to needless!
 5   endure pain and suffering, emotional distress, economic damages, in some cases medical care an
 6   economic debts, and loss of enjoyment of life. Accordingly, Defendants COUNTY OF SA
 7   BERNARDINO and DOES 4-5, and Defendants CITY OF VICTORVILLE and DOES 9-10 each a
 8   liable to Plaintiffs for compensatory damages under 42 U.S.C. § I 983. Plaintiffs also seek attorney'
 9   fees under this cause of action.
10                                           FIFTH CAUSE OF ACTION
11                   MUNICIPAL LIABILITY-FAILURE TO TRAIN (42 U.S.C. § 1983)
12           (By all Plaintiffs against Defendants COUNTY OF SAN BERNARDINO and DOES 4-5
13                      and against Defendants CITY OF VICTORVILLE and DOES 9-10)
14     64. Plaintiffs repeat and re-allege each and every allegation set forth in ,i,i 1-63 of this Complain
15   with the same force and effect as if fully set forth herein.
16     65. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CI

17   OF VICTORVILLE POLICE OFFICERS 9-10 acted under color of law.
18     66. The.acts of Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTJES 1-3 an
19   DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 deprived Plaintiffs of their particular righ
20   under the United States Constitution.
21     67. The training policies of Defendant COUNTY OF SAN BERNARDINO were not adequate t
22   train its deputies to handle the usual and recurring situations with which they must deal.
23     68. Similarly, the training policies of Defendant CITY OF VICTORVILLE were not adequate t
24   train its police officers to handle the usual and recurring situations with which they must deal.
25     69. Defendant COUNTY OF SAN BERNARDINO was deliberately indifferent to the obviou
26   consequences of its failure to train its deputies adequately.
27     70. Simialrly, Defendant CITY OF VICTORVILLE was deliberately indifferent to the obviou
28   consequences of its failure to train its police adequately.


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 1         71. The failure of Defendant COUNTY OF SAN BERNARDINO to provide adequate trainin
 2    caused the deprivation of Plaintiffs' rights by Defendant COUNTY OF SAN BERNARDIN
 3    SHERIFF'S DEPUTIES; that is, Defendant COUNTY OF SAN BERNARDINO's failure to train is s
 4    closely related to the deprivation of Plaintiffs' rights as to be a moving force that caused ultimate injury.
 5         72. On infonnation and belief, Defendant COUNTY OF SAN BERNARDINO failed to train DO
 6    Deputies J.5 properly and adequately.
 7         73. The failure of Defendant CITY OF VICTORVILLE to provide adequate training caused th
 8   deprivation of Plaintiffs' rights by Defendant CITY OF VICTORVILLE POLICE OFFICERS; that is
 9   Defendant CITY OF VICTORVILLE's faiJure to train is so closely related to the deprivation o
10   Plaintiffs' rights as to be a moving force that caused ultimate injury.
11         74. On infonnation and belief, Defendant CITY OF VICTORVILLE failed to train DOE Polic
12   Officers 6· 10 properly and adequately.
13         75. By reason of the aforementioned acts and omissions, Plaintiffs have been caused to needless)
14   endure pain and suffering, emotional distress, economic dan1ages, in some cases medical care an
15   economic debts, and loss of enjoyment of life. Accordingly, Defendants COUNTY OF SA
16   BERNARDINO and DOES 4-5, and Defendants CITY OF VICTORVILLE and DOES 9-JO each ar
17   liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983. Plaintiffs also seek attorney'
18   fees under this cause of action.
19                                          SIXTH CAUSE OF ACTION
20                        MUNICIPAL LIABILITY - UNCONSTITUTIONAL CUSTOM,
21                                  PRACTICE OR POLICY (42 U.S.C. § 1983)
22              (By all Plaintiffs against Defendants COUNTY OF SAN BERNARDINO and DOES 4.5
23                        and against Defendants CITY OF VICTORVILLE and DOES 9-10)
24         76. Plaintiffs repeat and re-aBege each and every allegation set forth in   ,r,r   I -75 of this Complain
25   with the same force and effect as if fully set forth herein.
26         77. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CIT
27   OF VICTORVILLE POLICE OFFICERS 6-8 acted under color oflaw.
28   ///



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     1      78. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES J.3 acted pursuan
 2       to an expressly adopted official policy or lonstanding custom or practice of SAN BERNARDIN
 3       COUNTY.
 4         79. Defendants DOE CITY OF VICTORVJLLE POLJCE OFFICERS 6-8 acted pursuant to
 5       expressly adopted official policy or long-standing custom or practice of the CITY OF VICTORVILLE.
 6         80. On information and belief, Defendants DOE SAN BERNARDINO COUNTY SHERIFF'
 7       DEPUTIES 1-3 were not disciplined, reprimanded, retrained, suspended, or otherwise penalized for th
 8       police brutality and despicable conduct that took place at J1758 Trailwood Street in Victorville
 9       California at approximately 8:00 p.m. on June 29, 2019.
10         81. On information and belief, Defendants DOE CITY OF VICTORVILLE POLICE OFFICERS 6-
11       were not disciplined, reprimanded, retrained, suspended, or otherwise penalized for the police brutali
12       and despicable conduct that took place at 11758 Trailwood Street in Victorville, California a
13       approximately 8:00 p.m. on June 29, 2019.
14         82. Defendant COUNTY OF SAN BERNARDINO and DOE SAN BERNARDINO COUNT
15       SHERIFF'S DEPUTIES 1-5, including but not limited to the Deputies at the scene of l 1758 Trailwo
16       Street in Victorville, California at approximately 8:00 p.m. on June 29, 2019, and the policymakers an
17       supervisors within the SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT maintained, inte
18       alia, the following unconstitutional customs, practices and polices:
19          a) Using excessive force, including excessive potentially deadly force including but not limited t
20              head strikes with impact weapons including guns and batons;
21          b) Providing inadequate training regarding the use of deadly force;
22          c) Providing inadequate training regarding the use of Taser devices;
23          d) Employing and retaining as COUNTY OF SAN BERNARDINO SHERIFF'S
24              individuals such as Defendant DOE Deputies l •JO whom Defendant COUNTY OF SA
25              BERNARDINO at all times material herein knew or reasonably should have
26              dangerous propensities for abusing their authority and for using excessive force;
27          e) Inadequately supervising, training, controlling, assigning, and disciplining COUNTY OF SA
28              BERNARDINO SHERIFF'S DEPUTIES, and other personnel, including Defendant DOE SA


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     1         BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-5 who the COUNTY OF SA
 2             BERNARDINO knew, or in the exercise of reasonable care should have known, had th
 3            aforementioned propensities and character traits;
 4         f) Maintaining grossly inadequate procedures for reporting, supervising, investigating, reviewing
 5            disciplining and controlling misconduct by COUNTY OF SAN BERNARDINO SHERIFF'
 6            DEPUTIES, including but not limited to Defendant DOE SAN BERNARDINO COUNT
 7            SHERIFF'S DEPUTIES 1-5, including failing to require deputies involved in the use of force o
 8            misconduct to give statements regarding the incident;
 9         g) Failing to adequately discipline COUNTY OF SAN BERNARDINO SHERIFF'S DEPUTIES
10            including Defendant DOE SAN BERNARDINO COUNTY SHERJFF'S DEPUTIES 1-5, fo
11            the above-referenced categories of misconduct, including "slaps on the wrists," discipline that i
12            so slight as to be out of proportion to the magnitude of the misconduct, and other inadequat
13            discipline that is tantamount to encouraging misconduct;
14         h) Announcing that unjustified situations of excessive force like the situation herein are "withi
15            policy," including police brutality by the COUNTY OF SAN BERNARDINO SHERIFF'
16            DEPUTIES that were later deemed to be unconstitutional;
17         i) Even when the incidents of unjustified police brutality are determined in
18            unconstitutional, refusing to discipline, terminate, or retrain the deputies involved;
19        j) Encouraging, accomodating, or facilitating a "blue code of silence," "blue shield," "blue walJ,'
20            "blue curtain,'' "blue veil," or simply a "code of silence" and encouragement of "testilying'
21            pursuant to which sehriff's deputies do not report other deputies' errors, misconduct, or crimes
22            Pursuant to this code of silence, if questioned about an incident of misconduct involving anothe
23            officer, while following the code, the officer being questioned will claim ignorance of the othe
24            officer's wrongdoing, often claiming some form of "tunnel vision" to "explain" why they do no
25            see things happening right next to them which are unconstitutional;
26        k) Maintaining a policy of inaction and an attitude of indifference towards soaring numbers o
27            incidents of excessive force including unjustified head strikes with impact weapons, includin
28           failing to discipline, retrain, investigate, terminate, and recommend officers for crimina


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     1          prosecution who participate in incidents of excessive force including unjustified head strike
 2              with impact weapons.
 3         83. Defendant CITY OF VICTORVILLE and DOE VICTORVILLE POLICE OFFICERS 6-8
 4       including but not limited to the VICTORVILLE Police Officers at the scene of 11758 Trailwood Stree
 5       in VictorvilJe, CaJifornia at approximately 8:00 p.m. on June 29, 2019, and the policymakers an
 6       supervisors within the CITY OF VICTORVILLE POLICE DEPARTMENT maintained, inter alia, th
 7       following unconstitutional customs, practices and polices:
 8          a) Using excessive force, including excessive potentially deadly force including but not limited t
 9              head strikes with impact weapons including guns and batons;
10          b) Providing inadequate training regarding the use of deadly force;
11          c) Providing inadequate training regarding the use of Taser devices;
12          d) Employing and retaining as CITY OF VICTORVILLE POLICE OFFICERS individuals such a
13              Defendant DOE VICTORVILLE POLICE OFFICERS 6-8, whom Defendant CITY 0
14              VICTORVILLE at all times material herein knew or reasonably should have
15              dangerous propensities for abusing their authority and for using excessive force;
16          e) Inadequately supervising, training, controlling, assigning,         and disciplining
17              VICTORVILLE POLICE OFFICERS, and other personnel, including Defendant DOE CITY O
18              VICTORVILLE POLICE OFFICERS 6-8 who the CITY OF VICTORVILLE POLIC
19              DEPARTMENT knew, or in the exercise of reasonable care should have known. had th
20             aforementioned propensities and character traits;
21          f) Maintaining grossly inadequate procedures for reporting, supervising, investigating, reviewing

22             disciplining and controlling misconduct by CITY OF VJCTORVlLLE POLICE OFFICERS
23             including but not limited to Defendant DOE CITY OF VICTORVILLE POLICE OFFICERS 6
24             8, including failing to require deputies involved in the use of force or misconduct to giv
25             statements regardin the incident;
26          g) Failing to adequately discipline CITY OF VlCTORVJLLE POLICE OFFICERS,
27             Defendant DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8, for the above-reference
28             categories of misconduct, including "slaps on the wrists," discipline that is so slight as to be ou


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     1           of proportion to the magnitude of the misconduct, and other inadequate discipline that
 2               tantamount to encouraging misconduct;
 3           h) Announcing that unjustified situations of excessive force like the situation herein are "withi
 4               policy," including police brutality by the CITY OF VICTORVILLE POLICE OFFICERS tha
 5               were later deemed to be unconstitutional;
 6           i) Even when the incidents of unjustified police brutality are determined in court to
 7               unconstitutional, refusing to discipline, terminate, or retrain the deputies involved;
 8           j) Encouraging, accomodating, or facilitating a "blue code of silence," "blue shield," "blue wall,'
 9               "blue curtain," "blue veil," or simply a "code of silence" and encouragement of "testilying'
10               pursuant to which sehriff's deputies do not report other deputies' errors, misconduct, or crimes
11               Pursuant to this code of silence, if questioned about an incident of misconduct involving anothe
12               officer, while following the code, the officer being questioned will claim ignorance of the othe
13              officer's wrongdoing, often claiming some fonn of ''tunnel vision" to "explain" why they do no
14              see things happening right next to them which are unconstitutional;
15           k) Maintaining a policy of inaction and an attitude of indifference towards soaring numbers o
16              incidents of excessive force including unjustified head strikes with impact weapons, includin
17              failing to discipline, retrain, investigate, terminate, and recommend officers for crimina
18              prosecution who participate in incidents of excessive force including unjustified head strike
19              with impact weapons.
20         84. By reason of the aforementioned acts and omissions, Plaintiffs have been caused to needlessl
21       endure pain and suffering, emotional distress, economic damages, in some cases medical care an
22       economic debts, and loss of enjoyment of life.
23         85. Defendants COUNTY OF SAN BERNARDINO and DOES 4-5, and Defendants CITY 0
24       VICTORVJLLE and DOES 9-10, together with various other officials, whether named or unnamed, ha
25       either actual or constructive knowledge of the deficient policies, practices and customs alleged in th
26       paragraphs above. Despite having knowledge as stated above, these Defendants condoned, tolerated an
27       through actions and inactions thereby ratified such policies. Said Defendants also acted with deliberat
28       indifference to the foreseeable effects and consequences of these policies with respect to th


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 1   constitutional rights of Plaintiffs, and other individuals similarly situated.

 2      86. By perpetrating, sanctioning, tolerating, and ratifying the outrageous conduct and other wrongfu

 3   acts, Defendants COUNTY OF SAN BERNARDINO and DOES 4-5, and Defendants CITY 0

 4   VICTORVILLE and DOES 9-10, acted with intentional, reckless, callous, and despicable disregard fo
 5   the life of Plaintiff SAMUEL R. NA VARETIE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR. an
 6   for the constitutional rights of each Plaintiff. Furthermore, the policies, practices, and custom
 7   implemented, maintained, and still tolerated by Defendants COUNTY OF SAN BERNARD1NO an
 8   DOES 4-5, and Defendants ClTY OF VICTORVILLE and DOES 9-10 were affirmatively linked to an
 9   were a significant influential force behind the injuries suffered in particular by Plaintiff SAMUEL R

10   NAVA RETIE, JR. & Plaintiff SAMUEL R. NAVARETTE, SR., and to all the Plaintiffs.
11     87. Accordingly, Defendants COUNTY OF SAN BERNARD1NO and DOES 4-5, and Defendan
12   CITY OF VICTORVILLE and DOES 9-10 each are liable to Plaintiffs for compensatory damages unde
13   42 U.S.C. § 1983. Plaintiffs also seek attorney's fees under this cause of action.
14                                        SEVENTH CAUSE OF ACTION
15                                FALSE ARREST/ FALSE IMPRISONMENT
16                              (By Plaintiff SAMUEL R. NAVARETTE, JR. against
17                        Defendants COUNTY OF SAN BERNARDJNO and DOES 1-3
18                       and against Defendants CITY OF VICTORVILLE and DOES 6-8)
19     88. Plaintiffs repeat and re-aJlege each and every allegation set forth in     ,r,r 1-87 of this   Complain
20   with the same force and effect as if fully set forth herein.

21     89. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CJT
22   OF VICTORVILLE POLICE OFFICERS 6-8, while working for their respective Departments, an
23   while acting under color of lawwith the course and scope of their duties, intentionally deprived Plainti
24   SAMUEL R. NAVARETTE, JR. of his freedom of movement by use of force, threats of force, menace
25   fraud , deceit, and unreasonable duress. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'
26   DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 detained Plainti
27   SAMUEL R. NAVARETTE, JR. without reasonable suspicion and arrested him without probable cause.
28     90. Plaintiff SAMUEL R. NAVARETTE, JR. did not knowlingly or voluntarily consent.


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             FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1      91. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTlES 1-3 and DOE CIT
 2   OF VICTORVILLE POLICE OFFICERS 6-8 detained Plaintiff SAMUEL R. NA VAREITE, JR. for a
 3   appreciable amount of time by wrongfully entering the dwelling where he was attending his child'
 4   birthday party, surrounded by family and friends, slamming him against a wall, grabbing his
 5   forcefuJJy and twisting it behind his back, kicking his legs out from under him, slamming him onto th
 6   hard ground, forcefully shoving a knee to his mid-back, smashing his skull with a gun and then bato
 7   repeatedly and for no lawful reason, handcuffing him, and after beating and humiliating him in front o
 8   his father, his children, other relatives and guests, the Defendants DOE SAN BERNARDINO COUN
 9   SHERIFF'S DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 raised hi
10   off the ground as he profusely bled from his skull after the near-deadly head strikes, forcibly walked hi
11   to a police vehicle, shoved him inside, took him to the police station, continued to harrass, degrade an
12   humiliate Plaintiff SAMUEL R. NAVARETTE, JR., and continue to take away his liberty and freedo
13   of movement, falsely arrested him on conjured up and perjurous false charges, refusing to provid
14   immediate medical assistance to further torture Plaintiff SAMUEL R. NAVARETTE, JR. and at all tim
15   made it clear he was not free to leave their custody for an appreciable amount of time.
16     92. The conduct of DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO
17   CITY OF VICTORVILLE POLICE OFFICERS 6-8 was a substantial factor in causing harm to Plainti
18   SAMUEL R. NAVARETTE, JR. as alleged herein.
19     93. Defendant COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful acts o
20   DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 pursuant to California Governmen
21   Code § 815.2, which provides that a public entity is liable for the injuries caused by its employees withi
22   the scope of their employment if the employee's act would subject him or her to Jiability.
23     94. Defendant CITY OF VICTORVILLE is vicariously liable for the wrongful acts of DOE CIT
24   OF VICTORVILLE POLICE OFFICERS 6-8 pursuant to California Government Code § 815.2, whic
25   provides that a public entity is liable for the injuries caused by its employees within the scope of thei
26   employment if the employee's act would subject him or her to liability.
27     95. The conduct of DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO
28   CITY OF VICTORVILLE POLICE OFFICERS 6-8 was malicious, wanton, oppressive, despicable, an


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             FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1   accompished with a conscious disregard for the rights of Plaintiff SAMUEL R. NAVARETTE, JR.
 2   entitling Plaintiff SAMUEL R. NA VAREITE, JR. to an award of exemplary and punitive damages.
 3      96. As a result of their misconduct, DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIE
 4    1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 are liable for Plaintiff SAMUEL R
 5   NAVARETTE, JR.' s injuries and damages, either because they were integral participants in th
 6   wrongful detention and arrest, or because they failed to intervene to prevent these violations.
 7                                         EIGHTH CAUSE OF ACTION
 8                                                    BATTERY
 9        (By Plaintiffs SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NA VAREITE, SR.
10                    against Defendants COUNTY OF SAN BERNARDINO and DOES 1-3
11                       and against Defendants CITY OF VICTORVILLE and DOES 6-8)
12     97. Plaintiffs repeat and re-allege each and every allegation set forth in    11   1-96 of this Complain
13   with the same force and effect as if fully set forth herein.
14     98. DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3, while working as SA
15   BERNARDINO COUNTY SHERIFF ' S DEPUTIES, and acting within the course and scope of thei
16   duties, along with DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8, while working as CIT
17   OF VICTORVILLE POLICE OFFICERS, also acting within the course and scope of their duties, use
18   unreasonable and excessive force and intentionally pushed Plaintiff SAMUEL R. NAVARETTE, JR
19   around, slammed him against hard objects, grabbed his arm forcefully and twisted it behind his back
20   kicked his legs out from under him, slammed him onto the hard ground, forcefully shoved a knee to hi
21   mid-back, smashed his skull with a gun and then baton over and over, merely to torture him and inflic
22   punishment against him for irrational and vicious purposes, without a care whether he would die or no
23   from this beating, handcuffed him in a manner designed to inflict further pain and injury to him, an
24   after beating and humiliating him in front of his father, his children, other relatives and guests, th
25   Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY 0
26   VICTORVILLE POLICE OFFICERS 6-8 raised him off the ground as he profusely bled from his skul
27   after the near-deadly head strikes, forcibly walked him to a police vehicle, shoved him inside, took hi
28   to the po1ice station, continued to harrass, degrade and humiliate Plaintiff SAMUEL R. NAVARETTE


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             FlRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1   JR., refusing to provide immediate medical assistance to further torture Plaintiff SAMUEL R
 2   NAVARETTE, JR. as he bled profusely from his skull wounds they inflicted upon him whic

 3   wrongfully in their custody.
 4      99. DOE SAN BERNARDINO COUNTY SHERJFF'S DEPUTIES 1-3, while working as SA
 5   BERNARDINO COUNTY SHERIFF'S DEPUTIES, and acting within the course and scope of thei
 6   duties, along with DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8, while working as CIT
 7   OF VICTORVILLE POLICE OFFICERS, also acting within the course and scope of their duties, use

 8   unreasonable and excessive force and intentionally used a TASER for no good reason or possibl
 9   justification against Plaintiff SAMUEL R. NAVARETTE, SR. causing him great injury and emotiona

10   distress. The police well know that once the electrodes hit their target, the Taser is designed to caus
11   intense pain and incpacitating muscle contractions, sends a pulse with about 10,000 volts and a fe
12   milliamps into the body of its intended target: The recipient is immobilized via two metal probe
13   connected via wires to the electroshock device. The recipient feels pain, and can be momentaril

14   paralyzed while an electric current is being applied. The United Nations Committee against Tort
15   reports that the use of Tasers can be a form of torture, due to the acute pain they cause, and warn
16   against the possibility of death in some cases.
17     100. As a result of the actions of Defendants DOE SAN BERNARDINO COUNTY SHERJFF'
18   DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8, Plaintiff SAMUEL R
19   NAVARETTE, JR. was injured and suffered tremendously, as set forth herein in the aforementione
20   paragraphs. As a result of the actions of Defendants DOE SAN BERNARDINO COUNTY SHERIFF'
21   DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8, Plaintiff SAMUEL R
22   NAVARETTE, SR. was injured and suffered tremendously, as set forth herein in the aforementione
23   paragraphs. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO
24   CITY OF VICTORVILLE POLICE OFFICERS 6-8 had no legal justification for their use of force o
25   either father or son, and this was despicable conduct and brutality. Their use of force while carrying ou
26   their duties while working as SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES, and whiJ
27   working as CITY OF VICTORVILLE POLICE OFFICERS, was an unreasonable and nonprivileged us
28   offorce.


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                FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1      101. The conduct of DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO
 2    CITY OF VICTORVILLE POLICE OFFICERS 6-8 was a substantial factor in causing harm to Plainti
 3    SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, SR. as alleged herein.
 4      102. Defendant COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful acts o
 5   DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 pursuant to California Governmen
 6   Code § 815.2, which provides that a public entity is liable for the injuries caused by its employees withi
 7   the scope of their employment if the employee's act would subject him or her to liability.
 8      103. Defendant CITY OF VICTORVILLE is vicariously liable for the wrongful acts of DOE CIT
 9   OF VICTORVILLE POLICE OFFICERS 6-8 pursuant to California Government Code§ 815.2, whic

10   provides that a public entity is liable for the injuries caused by its employees within the scope of thei
11   employment if the employee's act would subject him or her to liability.
12      104. The conduct of DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DO
13   CITY OF VICTORVILLE POLICE OFFICERS 6-8 was malicious, wanton, oppressive, despicable, an
14   accompished with a conscious disregard for the safety and rights of Plaintiff SAMUEL R
15   NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, SR., entitling both Plaintiff SAMUEL R
16   NAVARETTE, JR. to an award of exemplary and punitive damages.
17                                         NINTH CAUSE OF ACTION
18                                                 NEGLIGENCE
19                                    (By All Plaintiffs against All Defendants)
20     105. Plaintiffs repeat and re-allege each and every allegation set forth in   11   1-104 of this Complain
21   with the same force and effect as if fully set forth herein.
22     106. Police, whether they be a SAN BERNARDINO COUNTY SHERIFF'S DEPUTY or a CITY 0
23   VICTORVILLE POLICE OFFICER, have a duty to use reasonable care to prevent harm or injury t
24   others. This duty includes using appropriate tactics, giving appropriate commands, giving warnings, an
25   not using any force unless necessary, using less than lethal weapons, avoiding head strikes with impac
26   weapons wherever possible, and only using deadly force as a last resort.
27     107. Defendants, and eachof them, breached this duty of care. Upon information and belief, th
28   actions and inactions of Defendants were negligent and reckless, including but not limited to:


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             FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1       a) the failure to properly and adequately assess the need to detain, arrest, and use force or dead)
 2              force against Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R
 3              NAVARETTE, SR.;
 4           b) the negligent tactics and handling of the situation with Plaintiff SAMUEL R. NAVARETTE, JR
 5              and Plaintiff SAMUEL R. NAVARETTE, SR. including pre-head strikes and pre-Taserin
 6              negligence;
 7           c) the negligent detention, arrest, and use of force, including potentially deadly force including bu
 8              not Jimited to head strikes with impact weapons, and use of the Taser device which is known t
 9              potentially kill people, against Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUE
10              R. NAVARETTE, SR.;
11          d) the failure to provide prompt medical care to Plaintiff SAMUEL R. NAVARETTE, JR.;
12          e) the failure to properly train and supervise employees, both professional and non-professional
13              including DOE SAN BERNARDINO COUNTY SHERJFF'S DEPUTIES 1-5 and DOE CIT
14              OF VICTORVILLE POLICE OFFICERS 6-10;
15          f) the failure to ensure that adequate numbers of employees with appropriate education and trainin

16              were available to meet the needs of and protect the rights of the Plaintiffs, including but no
17              Jimited to Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE
18              SR.;
19          g) the negligent handling of evidence and witnesses; and
20          h) the negligent communication of infonnation during the incident.
21         108. As a direct and proximate result of Defendants' conduct as alleged above, and othe
22       undiscovered negligent conduct, Plaintiffs were caused to suffer and endure negligent infliction o
23       emotional distress, and both Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R
24       NAVARETTE, SR. were also caused to endure great physical pain and mental anguish after the viciou
25       assaults on their persons by the Defendant DOE SAN BERNARDINO COUNTY SHERIFF'
26       DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8.
27         l 09. As a result of the actions of Defendants and especially Defendant DOE SAN BERNARDIN
28       COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8


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                FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1    Plaintiff SAMUEL R. NA VAREITE, JR. and Plaintiff SAMUEL R. NA VAREITE, JR. wer
 2        physically injured, emotionally tortured, and suffered tremendously, as set forth herein in th
 3        aforementioned paragraphs. All the Plaintiffs endured great infliction of emotional distress at the hand

 4       of the Defendants, and each of them. Defendants DOE SAN BERNARDINO COUNTY SHERIFF'
 5       DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8 had no legal justificatio
 6       for their use of force, desbicable conduct and brutality. Their use of force while carrying out their dutie

 7       while working as SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES, and while working a
 8       CITY OF VICTORVILLE POLICE OFFICERS, was an unreasonable and nonprivileged use of force.
 9          110. Defendant COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful acts o
10       DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 pursuant to California Governmen
11       Code § 815.2, which provides that a public entity is liable for the injuries caused by its employees withi
12       the scope of their employment if the employee's act would subject him or her to liability.

13          111. Defendant CITY OF VICTORVILLE is vicariously liable for the wrongful acts of DOE CIT
14       OF VICTORVILLE POLICE OFFICERS 6-8 pursuant to California Government Code§ 815.2, whic
15       provides that a public entity is liable for the injuries caused by its employees within the scope of thei
16       employment if the employee's act would subject him or her to liability.
17          I 12. The negligent conduct of DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-
18       and DOE CJTY OF VICTORVILLE POLJCE OFFICERS 6-8 was malicious, wanton, oppressive

19       despicable, and accompished with a conscious disregard for the safety and rights of Plaintiffs, entitlin ·
20       Plaintiffs to an award of exemplary and punitive damages.

21                                             TENTH CAUSE OF ACTION
22                       VIOLATION OF BANE ACT-- CALIFORNIA CIVIL CODE§ 52.1
23                                   (By Plaintiffs SAMUEL R. NAVARETTE, JR. and
24                                SAMUEL R. NAVARETTE, SR. against AH Defendants)
25         113. Plaintiffs repeat and re-aHege each and every allegation set forth in   mf 1-1 12 of this   Complain
26       with the same force and effect as if fully set forth herein.
27         114. California Civil Code § 52. 1 (The Bane Act), prohibits any person from using violent acts o
28       threatening to commit violent acts in retaliation against another person for exercising that person'


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                 FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1    constitutional rights.

     2      115. On information and be1ief, DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-
 3        while working for the SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT and DOE CIT
 4        OF VICTORVILLE POLICE OFFICERS 6-8 while working for the CITY OF VICTORVILL
 5       POLICE DEPARTMENT and acting within the course and scope of their duties, intentionall
 6       committed acts of violence without justification or excuse against Plaintiff SAMUEL R. NAVARETTE
 7       JR. and Plaintiff SAMUEL R. NAVARETTE, SR., including but not limited to the unwarranted he

 8       strikes with impact weapons and the Taser use, by integrally participating and failing to intervene in th
 9       above violence, and by delaying needlessly immediate medical care required as a result of the injurie
10       suffered by the unwarranted police brutality.
11          J16. When Defendants intentionally committed acts of violence without justification or excus

12       against Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, SR.

13       including but not limited to the unwarranted head strikes with impact weapons and the TASER use, b
14       integrally participating and failing to intervene in the above violence, and by delaying needless)
15       immediate medical care required as a result of the injuries suffered by the unwarranted police brutality
16       they interfered with Plaintiff SAMUEL R. NAVARElTE, JR. and Plaintiff SAMUEL R
17       NAVARETTE, SR. 's civil rights to be free from unreasonable searches and seizures, to due process, t
18       equal protection of the laws, to medical care, to be free from state actions that shock the conscience, an
19       to life, liberty, and property.

20         117. On information and belief, Defendants intentionally and spitefully committed the above acts t
21       discourage Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, SR
22       from exercising their civil rights, to retaliate against each of them for invoking such rights, or to preven
23       them from exercising such rights, which they were fully entitled to enjoy.
24         118. On information and belief, Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R

25       NAVARETTE, SR. each reasonably believed and understood that the violent acts committed b
26       Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY 0
27       VICTORVILLE POLICE OFFICERS 6-8 were intended to discourage them from exercising the abov
28       civil rights, to retaliate against each of them, to prevent them from invoking such rights, or to preven


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                 FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1   them each from exercising such rights.
 2          J J9. Defendants successfuJly interfered with the above civil rights of Plaintiff SAMUEL R
 3       NA VAREITE. JR. and Plaintiff SAMUEL R. NAVARETTE, SR.
 4         120. The conduct of Defendants was a substantial factor in causing Plaintiff SAMUEL R
 5       NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, SR.'s harms, losses, injuries an
 6       damages.
 7         121. Defendant COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful acts o
 8       DOE SAN BERNARDINO COUNTY SHERIFF' S DEPUTIES 1-5 pursuant to California Governmen
 9       Code § 815 .2, which provides that a public entity is liable for the injuries caused by its employees withi
10       the scope of their employment if the employee's act would subject him or her to liability.
11         122. Defendant CITY OF VICTORVILLE is vicariously liable for the wrongful acts of DOE CIT
12       OF VICTORVILLE POLICE OFFICERS 6-10 pursuant to California Government Code§ 815.2, whic
13       provides that a public entity is liable for the injuries caused by its employees within the scope of thei
14       employment if the employee's act would subject him or her to liability.
15         123. Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTIES 1-5 are vicariousl
16       liable under California law and the doctrine ofrespondeat superior.
17         124. Defendant DOE CITY OF VICTORVILLE POLICE OFFICERS 6-10 are vicariously liabl
18       under California Jaw and the doctrine of respondeat superior.
19         125. As a result of the actions of Defendants and especially Defendant DOE SAN BERNARDIN
20       COUNTY SHERIFF'S DEPUTIES 1-3 and DOE CITY OF VICTORVILLE POLICE OFFICERS 6-8
21       Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, JR. wer
22       physically injured, emotionally tortured, and suffered tremendously, as set forth herein in th
23       aforementioned paragraphs.
24         126. The conduct Defendants was malicious, wanton, oppressive, despicable, and accompished with
25       conscious disregard for the safety and rights of of Plaintiff SAMUEL R. NAVARETTE, JR. an
26       Plaintiff SAMUEL R. NAVARETTE, SR., justifying an award of exemplary and punitive damages t
27       Plaintiff SAMUEL R. NAVARETTE, JR. and Plaintiff SAMUEL R. NAVARETTE, SR. agains
28       Defendant DOE SAN BERNARDINO COUNTY SHERIFF'S DEPUTJES 1-5 and DOE CITY 0


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                FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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     1   VICTORVILLE POLICE OFFICERS 6-10. Plaintiff SAMUEL R. NAVARETTE, JR. and Plainti
 2       SAMUEL R. NAVARETTE, SR. also seek attorney's fees under this cause of action.
 3                                               PRAYER FOR RELIEF
 4              WHEREFORE, Plaintiffs SAMUEL R. NAVARETTE, JR., SAMUEL R. NA VARETIE, SR.
 5       ANDREW NAVARETTE, a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO
 6       JESSICA NAVARETTE, a Minor, by and through her ROSE VJALPANDO, DANIEL NAVARETTE
 7       JEANETTE ALAMEDA, and JASMINE LYNES, pray for judgment against Defendants and each o
 8       them, as follows:
 9                      1. General compensatory damages in a sum according to proof, in excess of the minimu

10                     jurisdiction of this Court;
11                     2. Special damages in a sum according to proof;
12                     3. Punitive damages against the individual Defendants in an amount according to proof;
13                     4. Statutory damages;
14                     5. Interest on pecuniary losses whose amounts are certain from the date of the occurrenc
15                     of such losses as allowed by law;
16                     6. Reasonable attorney's fees, including litigation expenses, as allowed by law;
17                     7. Costs of suit; and
18                     8. Such other and further relief as the Court deems just, proper, and appropriate.
19

20       Dated: September 7, 2021
21

22                                                           By:
23
                                                                    A~:akesLLP
24                                                                  Joseph M. Barrett, Esq.
                                                                    George Terterian, Esq.
25                                                                  Damion D. Robinson, Esq.
26                                                                  Law Offices of Jimmy Nguyen
27                                                                  Jimmy Nguyen, Esq.
                                                                    Dublas Paniagua, Esq.
28
                                                                    Attorneys for Plaintiffs

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                FIRST AMENDED COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
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 1                              DEMAND FOR TRIAL BY JURY
 2           Plaintiffs SAMUEL R. NAVARETTE, JR.; SAMUEL R. NAVARETTE, SR.; ANDRE
 3   NAVARETTE; a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO; JESSIC
 4   NAVARETTE, a Minor, by and through her Guardian ad Litem, ROSE VIALPANDO; DANIE
 5   NAVARETTE; JEANETTE ALAMEDA; JASMINE LYNES, hereby demand a trial of all causes b

 6   jury.

 7

 8   Dated: September 7. 2021

 9

10                                           By:

11
                                                             .       '
                                                   George Terterian, Esq .
                                                                          .
12
                                                   Damion D. Robinson, Esq.
13
                                                   Law Offices of Jimmy Nguyen
14                                                 Jimmy Nguyen, Esq .
                                                   Dublas Paniagua, Esq.
15
                                                   Attorneys for Plaintiffs
16

17

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                          EXHIBIT B
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                                                 SUMMONS ON i'IRST AMFNDEDCOMPl.AJNT                                            l'Olt COC/illt Ilk OM. I'
                                                                                                                            (SOLO l'AIIA fllOOf C A ~
                                             (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
                                                                                                                                  FILED
                                                                                                                   SUPERIOR c6uitr OF CAUFOftNII-~
 (AVISO AL DEMANDAOO):                                                                                               COUNTY OF SAN SERNARDINO
 COUNTY OF SAN BERNARDINO (SAN BERNARDTNO COUNTY SHERIFF'S                                                             SAN BERNARDINO OISTRICT
 DEPARTMENTJ; CJTY OF VJCTORVJLLE (VICTORVILLE POLJCE
 DEPARTMENT); .and DOES 1-10, Inclusive,                                                                                      SEP 30 2021
 YOU ARE BEING SUED BY PLAINTtFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 SA.\.tllf:l. R. NAVARETTE, JR.: SAMUlll, R. NAVARETif:, SR.; ANDREW NAVARF.TTL                                BY
 a Minor. by and lhrou@h his Guardian ad Litem. ROSfi VIALPANJXi JESSI('A NAVARbTTI:,
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The r1ame, address. and telephone number of plaintiffs attorney, or plaintiff without an attorney, ~
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 Joseph M. Barren, Esq.; 2049 Century Park East, Suite 2460. los Angeles, CA 90067; (310) 979-87~0

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Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 38 of 62 Page ID #:38




                          EXHIBIT C
     Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 39 of 62 Page ID #:39




                  SUPERIOR COURT OF CALIFORNIA. COUNTY OF SAN BERNARDINO


   Samuel R. Navarette; et al.                                     eaae No.PIV OS 2 00 2 0 0 9
                       vs.                                         CERTIFICATE OF A881GNMENT

 CountY of Sin Bernardino: et al.

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  San Bema(IIJnp                    DIBtrfc:t of the Superior Court under Rule131 and General Order
 rl thla court for the checked 1N10n:
        11 General                   D Collection
            NatllM of Action           Ground
         1. Adoption                  Petitioner Allklll within the district
         2. COnlervatar               Petitioner or ooneerwtee reeldea within thedllbtct.
         3. Contract                  Perfonnanc:e In the dlltrict 11 expf9llly provided for.
         4. Equity                    'The CIKIR of action 8101e within the dlltrtct.
         5. Eminent Domain            The property ii located wl1hin thediltr1ct.
         8. Flfflffy Law              Plaintltf, defendant, petitiOner o r ~ raidn within lhedlllric:t.
         7. Glaarclanthfp             Petitioner or ward l9lldel wllhln 1he district or hall prope,:ty wllhln thedlltric:t.
         8. Ha,..,.,.nt               Plalnllff, defendant, pelilloner or rnponctent resldN wlttlfn the dlatrlct.
         9. Mandate                   The del'endlnt functiont wholly within the dlatrlct.
          10. Name Change                The petilianer midis within the dlttrict
          11. PtrlOnll Injury            The Injury occurred within the dlstrfct.
          12. Peraonal Pn,perty          The property la loclild within the diBtricl
          13. Prabtlla                   Deoedent rnlded or rnide1 wl1hln or had property within lhe dJatrict.
          14. Prohibition                The af'end■nt functiOnl wholly within thedlltrict.
          16. Review                     The defendant fundionl wholly wlthfn the dllCrtct.
          18. Title to RMI Property      'Tlte property II tocalld within the dl1trict.
          17. Tranlfwrld Action          The lower court ii located wllhln lhedlltrtct.
          18. \Jnlawl&I Delalner         The property II loclled wfthln lhe dl1nct.
          19. Other
          20. 0cmNtlc_Viotence
                         _ __            The petitioner, defendant. pfalntlff or rnpondent realdel within thedletrtct.

          21. THIS FILING lNOULD        NORMALLY FALL wmtlN JURISDICTION OF SUPERIOR COURT
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      b. CZ) &tensive motion practice raising difflcult or novel                          e. D  Coordination with related actions pending in one or more courts
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      c,  D  Subltllmlal amount of documentary evidence                                   f. D  Substantial posljudgment Judicial aupervislon              -
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6. If there 1111 any known related caHa, file and serve a notice of related caee, (You may use form CM-015,)
 D•te: January 22, 2020
Jose h M. Barrett,

  • Pl,lnllff muat fii. 1h11 cove, ll'leet with lhe flrat paper .filed In the action; • -                                   _: .. 'tilld
    under the Probate Code, Family Code, or Welfare end Institution& Codi).- -                          • 0.)-'f:allu;e to tile may 191U11
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  • File this CCMtf •tieet in addition to any cover -1leet raquir&d by local court Nie,
  • If thla caM la eompex.unaer rule 3.◄00 et aeq, of the Callfomla Ruin of Court, you mu11 tel'¥9 a copy of 1h11 cover sheet on all
    other partln to 1ht action or prvcndlng.
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                                                                     CML CASE COVER SHEET
              Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 41 of 62 Page ID #:41




                                                                                                                                           CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plalntlffa and Others FUlng First Papers. If you are filing a first paper (f« example, a complaint) in a civil case, you must
  complete and fife, along with your fimt paper, the CivU Can Cover Sh88I contained on page 1. This information wll be used to compile
  statistics about lhe types and numbers of cases filed, You must compte1e items 1 through 6 on the sheet. In item 1, you must check
  one box for the caae type that best describes the case. If the case fits both a general and a more apecific type of caae Hated In Item 1,
  check the more specific one. If the case has mulliple causes of action, check the box that best Indicates the primary caua,e of action.
  To &Hist you in completing the sheet, examples of the cases that belong under each caee type In item 1 are provided below. A cover
  sheet must be filed only with your Initial paper. Failure to file a cover sheet with the first paper filed In a civil case may subject a party,
  118 counsel, or both to sanctions under rules 2.30 and 3,220 of the California Rules of Court
 To Parties In Rule 3.7.tO Collectlon, Ca,... A "collections case" under rule 3.740 is defined 11 an action for recovery of money
 owed In a sum slated to be certain that la not mote t,an $25,000, exclusive of lntereat and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections caM does not inClude an acflon eeeklng the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery or personal property, or (6) a prejudgment writ of
 attachment. The Identification of a case as a rule 3.740 collections case on this form means that It will be exempt from the general
 time-for-service requlrementa and case management rulea, unless a defendant files a responsive pleading. A rule 3.740 collections
 caae will be subject to the requirements for aervlce and obtaining a Judgment in rule 3. 740.
 To Pardes In Complex Caaea. In complex cases only, parties must also uee the Civil Caso Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case ia complex under rule 3.400 of the California Rules of Court, this must be Indicated by
 complet1119 the appropriate boxes In items 1 and 2. If a plaintiff designates a case aa complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of Its first appearance • Jolnder In the
 plalntlff'a designation, a counter-designation that the case 18 not complex, or, If the plalntlff has made no designation, a designation that
 the caae II complex.                                         CASE TYPES AND l!XAMPLES
 Auto Tort                                        Conlract                                            Provlllonally Complex CIYU LIUgatlon (Cal.
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              DamageM'rongful Death                          Breach of Rental/Leese                         AnUlruaVTrade Regullllon (03)
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              lnstHd of Auto)                               Negligent Breach ot Contract/                   lnaurance CO\lerage .Clalma .
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 Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgmttnt
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             A&be1101 Personal Injury/                      Other Promluory Note/Cotlectlona                         County)
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       Produel t.lablllty (not asbi,stos or            lnauranc:e Coverage (nor provlslone/ly                        domestic rr,1111/onsJ
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                    Phy1lcl1n1 & Surgeons             Other Contract (37)                                       PetiWOn/Canlficatlon of Enlty of
             other Profesllonal Health Care                 Contractual Fraud                                      Judgment     on Unpaid Taxes
                    Malpractlce                             Other Contract Dispute                              Other Enfon:ement of Judgment
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           falae 11'1'9$1) (not c/vU                 On,ga (38) (If lhe CSU lnvo/Ves /1111gal
            heruam&nt) (08)                                                                                    GO\lemance (21)
                                                           drugs, checlf thl$ Item: oth11rwisa,            Other Petition (not.,,~
      Defamation (e.g., tlllllder, llbel)                  report as CommetcJaf or Re&id,enlial)
             (13)                                                                                              lbol/9) (43)
                                                 Judlolal Review                                               Civil Hara11rnen1
      Fraud (18)                                     Anet FO!felture (05)                                      Workpiece     Violence
      lnteltec.tuel Property (18)                    Petition Re: Artlltratlon Award (11)                      ElderJDependent Adull
      ProfM1lon1I Negligence (25)                    IMtt of Mandate (02)                                           Abuse
          Legal Ma~ractlee                                 wrtt-AOmlnlatratlVe M1ndam111                       Electlon Conte1t
          Other Profet1lon1I Melpractk:a                   W'1~1ndamu1 .on Ltnlled Court                       Petition for Neme Change
                (not medical or legal)                         CaH Matter                                      Pe11!1on for Relief From Lele
       Other Non-Pl/PD/WO Tort (35)                        ~It-Other Limited Court Caae                             Claim
ErnploVffllfll                                                Revtew
     ~ I Termination (38)                                                                                      Olher Clvll Petition
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  Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 42 of 62 Page ID #:42




           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
San Bernardino District - Civil
247 West Third Street
San Bernardino CA 924150210


                                           CASE NO: CIVDS2002009
  AFFELD GRIVAKES LLP
  2049 CENTURY PARK
  STE 2460
  LOS ANGELES CA 90067




           I MP O R T A N T     CORR E S P ON D E N C E
From the above entitled court, enclosed you will find:
                     INITIAL COMPLEX ORDER AND GUIDELINES




                CERTIFICATE OF SERVICE
I am a Deputy Clerk of the Superior Court for the County of San
Bernardino at the above listed address. I am not a party to this
action and on the date and place shown below, I served a copy of the
above listed notice:
 () Enclosed in a sealed envelope mailed to the interested party
addressed above, for collection and mailing this date, following
standard Court practices.
() Enclosed in a sealed envelope, first class postage prepaid in the
U.S. mail at the location 'shown above, mailed to the interested party
and addressed as shown above, or as shown on the attached listing.
() A copy of this notice was given to the filing party at the counter
() A copy of this notice was placed in the bin located at this office
and identified as the location for the above law firm's collection of
file stamped documents.
Date of Mailing: 01/30/20
I declare under penalty of perjury that the foregoing is true and
correct. Executed on 01/30/20 at San Bernardino, CA
                                         BY: ALFIE CERVANTES

              MA I L I N G C OV E R        S H E E T
Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 43 of 62 Page ID #:43
Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 44 of 62 Page ID #:44

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Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 45 of 62 Page ID #:45
Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 46 of 62 Page ID #:46
Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 47 of 62 Page ID #:47




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Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 48 of 62 Page ID #:48
         Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 49 of 62 Page ID #:49




     A'r!Ol!NE.'l'~.~eti,,i!u-. d ~:                                                                                .i<o.!l;COU!n"sµtl19,¥1:Y
 e-      ).os~ph M. Barreit,..SBN 143974; ~ e T«.tqril!U,,SBN iS:89.S.3:
         Affiijd Grlvllkes LLP
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               '.fEISR)l<EI-IGl (3l0) 979-8700 .l'J.X.>0, (0p/lD,rafl! (3l0} 979..g.7-0J            SUPERIOR COURT OF CALIFORNIA.
                                                                                                        COUNiY OF SAN BERNARDINO
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      ATTC.IRIEY~ - : Plainli ·. S81Jll,lel R. Nav.aretteJr..: ~ al
     SUPERIC>lt~URTOF ~"ff0RNIA, COUNTY OF SAN BERNARDINO                                                      SEP 1 5 2020
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          n,p,uw,tea·b y..n attorney ariB an attom•y.

1.   ~m (hame,: Ros'e Vialpando                                                        is
     .a. D the pat«rt elf (name):
     b. [ZJ the guardian .di" {name): Jessica Navsr.ette
     c. D ·tt,e corisel'Vator of (name):
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     e.. D tt. .mtnor toHiie,j:,resemeo (fftt,s mlndr fs 14 J'BBIS ~fitge ·or riJdet}.
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2. Th~~llcltlon .seeks .ftie ftPpl;lintment 1)ffl,e feHowlng :j:Je$an as 1!11.1lTdl111n :eel )Item (sh!te name, add~ end 18/ephe.ns •l'IUmbflr):
         Rose Vialpando
         f3 l 8.1 Robin Court, 'Chino, CA 917 JO
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3. TIJ•'gua!tfra.n ad. !Item 1$ lo represent Iha .interests of the follpwing p,P.1°"1 /$la(, nan:,,,;.ac;ldfffS, snd.'Wlephone numb~:
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             Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 50 of 62 Page ID #:50




                                                                                                                                                  CIV-010
  -         PLAINTIFF/PETITIONER;             Samuel R. Navarette Jr.; et al.                                     CASE NUMBER:

      DEFENDANTIRESPONDENT:                   County of San Bernardino; et al.                                                 CJVDS2002009

  5. b.      D        more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
                      in Item 3, and no applicatlon for the appointment of a guardian ad litem has been made by the person identified In
                      item 3 or any other person.
        c.   D        the person named in item 3 has no guardian or conseNator of his or her estate.
        d.   ClJ      the appointment of a guardian ad litem is necessary for the following reasons (spetify):
                     I} to get Summons issued
                     2) serve the Defendants


         · [::J Cbntinued ori Attachment ·od.
 6.    Thl ';r°Fosed guardian ad !item's relationship to th& pei'sol'i he or she will b& l'Eipr~senting ·;s:
       a.            related (state relationship): Grandmother
       b.    D       not related (specify capacity):

 7. The proposed guardian ad litem is fully co,;,petent and qualified to undi3rstarid and protect the rights 6t th~ person ·or Sh~ Will      he
    represent and has no interests adverse to the Interests of that person. (If there are any issues of competency or qualification or
    any possible adverse Interests, describe and explain why the proposed guardian should nevertheless be appointed):




             0       Continued CITi Attachment 7.
 Joseph M. Barren, Esq.
                                    (TYPE OR PRINT NAME)                                                        (SIGN...T\JRE OF "TTORNEYJ

I declare under penally of perjury under the laws of the State of Califomla lhiil the·tor1:1going is true and correct.
Date: 'l;,       f'-/· 4~(1'
  Ro~c... .9"ra_\~p_ar-J_o_·_ _____
                                    (TYPE OR PRINT NAME)


                                                            CONSENT TO ACT AS GUARDIAN AD LITEM
I consent to the appointment as guardian ad !item under the above petition.
                      Lf
Date: '?.>··· ( ♦;) VJU

_   ~ t.- Vi a IP dndo              (TYPE Oil PRINT NAME)
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                                                                  ORDER      W      EXPARTE
 THE COURT FINDS that it is reasonable and necessary to appoint a guardian ad !item for the person named in item 3 of the
 application, as reciuested.

 THE COURT ORDERS that (name):                         Ret>~ V;·a\p ar._d 0
 is hereby appointed as the guardian ad !item for (name):             Jessica Navarette
 for the reasons set forth in item 5 of the application.
 Date:
                                                                                                                    JUDICIAL OFFICER
                                                                                      D      SIGNATURE FOLLO\NS I.J\ST ATTACHMENT


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CIV-010 (R... JIIIUII)' 1 . 2008)                      APPLICATION AND ORDER FOR APPOINTMENT
                                                             OF GUARDIAN AD LITEM-CIVIL
       Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 51 of 62 Page ID #:51




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                                                                                                              SAN BEBNMIDlNO DISTRICT
      ~W'FO!t •_,: .:Plaintiff's Samuel R. NaYarette, Jr:-et at
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11 f\P.PfK:ant-(~ms.): ~ -V.~fpando                                                                  1s.
   .t. CJ the_parent~(ns/7$):
    b, CZ) the guardian of (name): Andrew Navarette
      c.    D    the conservator of {name):              ·
     d. D        e party to th& suit. ·
      e..   D    the rninor tt> be represertted '(Iff/'/e minor is 14 )',&lii's·af $09'01' bider}.
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i.   This app1ication-s~.-1~n.'iinerti ·of¾he folio~ person as guardian ad 'lltem (state nahit; ad@o&i. ahd1e1ephtme numbdlJ?:
     Rost·Vu.tpando
     11litl ·llobin Court. Chino, CA 91110
     {909)418.~7490              .    .              .
·a. Toe guili1~1111n ad JN is .to ,~ r-ffie lnt$'estlr oflhe f011;,w,ng pet.s.on ,[sJ~tif .n'erfle,,B#t~$; f!Tldt~6Phcme ~umb~~
      A.ndt«w Navarette          ·
     15-606 Pearmain Street
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 4. Tbt~1fw-:!,tl iePfe$tntecl is:
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Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 52 of 62 Page ID #:52
             Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 53 of 62 Page ID #:53




 rI         PLAINTIFFIPETITIONER:

      DEFENDANT/RESPONDENT:
                                             Samuel R. Navarette Jr.; et a/.
                                            _County of San Bernardino; et al.
                                                                                                                CASE NIJMBER

                                                                                                                             CIVDS2002009
                                                                                                                                            CIV-010




  5. b.      D       more than 10 days have elapsed since the summons in the above-entitled matter was served on the person named
                     In item 3. and no application for the appointment of a guardian ad lilem has been made by the person identified in
                     item 3 or any other person.
       c.    D       the person named in item 3 has no guardian or conservator of his or her estate.
       d.    [ZJ lhe appointment of a guardian ad litem is necessary for the following reasons (specify): ·
                 l) to get Summons issued
               . 2) serve the Defendants


         0 . Continued on Attachri'lent 5d.
 6.    The ,e.roposed guardian ad item's relationship to the' Pf!(SOTI he or she·Wiil be representing is:·
       a [ ✓       I relaten (state relationship): Grandmother
       b.    D       not related (specify capacity):

 7. The proposed guardian ad litem is fully competent and qualified to understand and protect the rights of iht pel\on he· or she wlJi
    represant and has no interest& adverse to the interests of that person. (If there are any issues of compet9flcy or qualification or
    any possible adverse Interests. describe and explain why the proposed guardian should nevertheless be appointed):




            0        Continued on Attachment 7.
 Joseph M. Barrett, Esq.
                                   (TYPE OR PRINT N""1EI                             ►                        (SIGNATURE Of ATTORNEY)

 I declare under penalty of petjury under the laws of the State of Cafifomta Iha! ih& foregoing i& true and correct.
Date:       '.C.- I Y. 2.(.) ;)_r.)
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                                                                                                                    ·(/1/l:d u
                                   (TYPE OR PFIINl NAME)


                                                           CONSENT TO ACT AS GUARDIAN AD LITEM
I consent to the appointment as guardian ad !item under the above petition.
Date:        f;·( t./,..;)J) :
  R.~c. V,a\              lndo~x-✓                                                   ► -----=-4--~....-----~~-                              ---
                                                                 ORDER        W    EXPARTE
 THe COURT FINDS that ii Is reasonable and necessary to appoint a guardian ad !item for the person named In Item 3 of the
 application. as requested.

 THE COURT ORDERS that (name): ~OS(.                           Vi a\ f J.nd
                                                               0
 is hereby appointed as the guardian ad litem for (name): Andrew Navarette
 for the reasons set forth in item 5 of the application.
 Date:
                                                                                                                  JUIJICIAl OFFICER
                                                                                    D      SIONATU~E FOllOWS i.ASl ATlAOiMl:NT


CIV-010 (Rev. JIIIIJ9ty 1. 2009!                                                                                                            Pegthf2
                                                      APPLICATION AND ORDER FOR APPOINTMENT
                                                            OF GUARDIAN AD LITEM--clVIL
Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 54 of 62 Page ID #:54




                          EXHIBIT D
 Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 55 of 62 Page ID #:55



 1   James R. Touchstone, Esq., SBN 184584
     jrt@jones-mayer.com
 2   Denise L. Rocawich, Esq., SBN 232792
     dlr@jones-mayer.com
 3   JONES & MAYER
     3777 North Harbor Boulevard
 4   Fullerton, CA 92835
     Telephone: (714) 446-1400
 5   Facsimile: (714) 446-1448

 6   Attorneys for Defendant
     COUNTY OF SAN BERNARDINO and CITY OF VICTORVILLE
 7

 8

 9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

10           COUNTY OF SAN BERNARDINO, SAN BERNARDINO COURTHOUSE

11

12
     SAMUEL R. NAVARETTE , JR; SAMUEL         Case No: CIVDS2002009
13   R. NAVARETTE, SR.; ANDREW
     NAVARETTE, a minor, by and through his
14   Guardian Ad Litem, ROSE VIALPANDO;       NOTICE TO STATE COURT AND
     DANIEL NAVARETTE; JEANETTE               ADVERSE PARTY OF REMOVAL OF
15   ALAMEDA; JASMINE LYNES;                  ACTION TO FEDERAL COURT

16                 Plaintiffs,

17         vs.

18   COUNTY OF SAN BERNARDINO (SAN
     BERNARDINO COUNTY SHERIFF’S
19   DEPARTMENT); CITY OF
     VICTORVILLE (VICTORVILLE POLICE
20   DEPARTMENT); DOES 1 to 10, inclusive,

21                 Defendants.

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25

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27

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                                              -1-
                 NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
 Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 56 of 62 Page ID #:56



 1          TO THE ABOVE-ENTITLED COURT, ALL PARTIES, AND THEIR

 2   ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441 and 1446,

 4   Defendants' Notice of Removal of this action from the Superior Court of California, County of

 5   San Bernardino, to the United States District Court for the Central District of California, together

 6   with copies of all pleadings and process served upon Defendants, has this date been filed in the

 7   United States District Court for the Central District of California. A copy of the Notice of

 8   Removal (without exhibits) is attached hereto as “Exhibit A.”

 9
     Dated: December 1, 2021                       JONES & MAYER
10

11
                                                   By:________________________
12
                                                      JAMES R. TOUCHSTONE
13                                                    DENISE L. ROCAWICH
                                                      Attorneys for County of San Bernardino and
14                                                    City of Victorville
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                NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
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                          EXHIBIT A
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 6   Attorneys for Defendant
     COUNTY OF SAN BERNARDINO and CITY OF VICTORVILLE
 7

 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
     SAMUEL R. NAVARETTE , JR;           Case No:
11   SAMUEL R. NAVARETTE, SR.;
     ANDREW NAVARETTE, a minor,
12   by and through his Guardian Ad      NOTICE OF REMOVAL
     Litem, ROSE VIALPANDO;
13   DANIEL NAVARETTE; JEANETTE          [Filed concurrently herewith:
     ALAMEDA; JASMINE LYNES;             (1) Certification of Interested Parties.]
14
                Plaintiffs,
15
          vs.
16
     COUNTY OF SAN BERNARDINO
17   (SAN BERNARDINO COUNTY
     SHERIFF’S DEPARTMENT); CITY
18   OF VICTORVILLE (VICTORVILLE
     POLICE DEPARTMENT); DOES 1
19   to 10, inclusive,
20              Defendants.
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                                  NOTICE OF REMOVAL
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 1         TO THE CLERK OF THE ABOVE-CAPTIONED COURT:
 2

 3         PLEASE TAKE NOTICE that Defendants, County of San Bernardino and
 4   City of Victorville, hereby remove to this Honorable Court the state-court action
 5   described below.
 6         1.     On September 7, 2021, this action was commenced in the Superior
 7   Court of the State of California in and for the County of San Bernardino entitled
 8   SAMUEL R. NAVARETTE, JR. et al., Plaintiffs, vs. COUNTY OF SAN
 9   BERNARDINO et al., Defendants. The suit was assigned case number
10   CIVDS2002009 by the San Bernardino Superior Court. A true and correct copy of
11   the Complaint is attached hereto as Exhibit "A."
12         2.     The first date upon which Defendants received a copy of said
13   Complaint was November 3, 2021, when a copy of the Complaint was served on
14   the City Clerk's Office along with a Summons from the state court. A true and
15   correct copy of the state court Summons is attached hereto as Exhibit "B."
16         3.     Along with the Summons and Complaint, these removing Defendants
17   also received the following documents from Plaintiff: Certification of Assignment,
18   Civil Case Cover Sheet, Guidelines for the Complex Litigation Program, and
19   Application and Order for Appointment of Guardian Ad Litem – Civil. true and
20   correct copies of which are attached hereto collectively as Exhibit "C." The
21   Summons, Complaint, and the above-listed documents are the only papers that
22   have been served on Defendants in the state court action. To the best of the
23   undersigned's knowledge, these are the only papers filed with the state court.
24         4.     This action is a civil action in which this Court has original
25   jurisdiction under 28 U.S.C. § 1331 and removal jurisdiction under 28 U.S.C. §
26   1441(b) in that it arises under 42 U.S.C. § 1983. See Compl. at 3:23-28; 4-9; and
27   10:1-22.
28   //
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                                      NOTICE OF REMOVAL
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 1         5.     The Defendants who herein jointly remove this case are the only
 2   named Defendants in this action.
 3         6.     Concurrent with the filing of this Notice of Removal, a Notice to State
 4   Court and Adverse Party of Removal to Federal Court is being filed with the state
 5   court and served on Plaintiff's counsel. A true and correct copy of that Notice with
 6   proof of service thereof is attached hereto as Exhibit "D."
 7

 8   Dated: December 2, 2021                   Respectfully submitted,
 9                                             JONES & MAYER
10

11
                                               By:/s/ Denise L. Rocawich
12                                               JAMES R. TOUCHSTONE
                                                 DENISE L. ROCAWICH
13                                               Attorneys for County of San
                                                 Bernardino and City of Victorville
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                                      NOTICE OF REMOVAL
 Case 5:21-cv-02022 Document 1 Filed 12/02/21 Page 61 of 62 Page ID #:61



 1   Navarette, Jr. et al. v. County of San Bernardino
     SBSC Case No. CIVDS2002009
 2
                                      PROOF OF SERVICE
 3
     STATE OF CALIFORNIA                          )
 4
     COUNTY OF ORANGE                   )   ss.
 5
     I am employed in the County of Orange, State of California. I am over the age of 18 and
 6   not a party to the within action. My business address is 3777 North Harbor Blvd.
     Fullerton, Ca 92835. On December 2, 2021, I served the foregoing document(s)
 7   described as NOTICE TO STATE COURT AND ADVERSE PARTY OF REMOVAL OF
     ACTION TO FEDERAL COURT, on each interested party listed below/on the attached
 8   service list:
 9                                SEE ATTACHED SERVICE LIST
10   XX (VIA MAIL) I placed the envelope for collection and mailing, following the
        ordinary business practices.
11      I am readily familiar with Jones & Mayer’s practice for collection and processing
12      of correspondence for mailing with the United States Postal Service. Under that
        practice, it would be deposited with the United States Postal Service on that same
13      day with postage thereon fully prepaid at La Habra, California, in the ordinary
        course of business. I am aware that on motion of the parties served, service is
14      presumed invalid if postal cancellation date or postage meter date is more than
        one day after date of deposit for mailing affidavit.
15   XX (VIA ELECTRONIC SERVICE) By electronically transmitting the document(s)
16      listed above to the e-mail address(es) of the person(s) set forth above. The
        transmission was reported as complete and without error. See Rules of Court,
17      Rule 2.251.

18

19
            I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct. Executed on December 2, 2021 at Fullerton, California.
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                                                  WENDY A. GARDEA

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               NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
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